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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT

SAMUEL KERSON,                              )
Plaintiff,                                  )
                                            )
v.                                          )      No. 5:20-cv-00202-gwc
                                            )
VERMONT LAW SCHOOL, INC.,                   )
Defendant.                                  )
                                            )

 VERMONT LAW SCHOOL, INC.’S MOTION (1) TO RECONSIDER ORDER
  OF APRIL 22, 2021 OR (2) IN THE ALTERNATIVE, TO EXTEND TIME
     FOR FILING REPLY IN SUPPORT OF SUMMARY JUDGMENT

      Vermont Law School, Inc. (“VLS”), by and through counsel, moves the Court

to reconsider its Order of April 22, 2021—issued before VLS could reply to

Plaintiff’s memorandum—which effectively paused summary judgment proceedings

so that Plaintiff could take limited discovery and attempt to locate an expert.

Alternatively, VLS moves pursuant to Fed. R. Civ. P. 6(b) for an order extending the

deadline for it to file its reply in support of summary judgment until August 1,

2021, with the Court to schedule a hearing on the motion thereafter.

                                   Memorandum

      But for the relative obscurity of the federal law underpinning Plaintiff’s

claims, this is a simple case. VLS wishes to cease displaying Plaintiff’s mural

permanently; the Court has said, at least at the preliminary injunction stage, that

there is nothing in the Visual Artists Rights Act (“VARA”) that bars VLS from doing

so. Plaintiff is now doing everything he can to delay a final ruling confirming VLS’s

right to cover his work. Notwithstanding the fact that the Mural will be forever

removed from display—and that VARA affords him only the limited rights
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enumerated in the statute, and those solely for the period of his lifetime—Plaintiff

contends that he needs a chance to obtain an expert on the long-term effects of

covering the Mural, and has raised unfounded questions about potential harm the

installation of the cover may cause to the Mural.

      This is a wholly unnecessary and unwarranted use of time and resources.

There is no genuine question that the installation of the cover will not destroy or

mutilate the Mural at the present time or in the immediate future—and that is

dispositive of the VARA claim. Respectfully, the law does not give Kerson the right

to inject himself as chief facilities manager and art conservator at VLS: the question

of whether there might be some risk of degradation to his work over a period of time

due to the enclosed environment behind the cover is not one that is cognizable

under VARA. Nor, manifestly, is it what prompted this lawsuit. What Kerson

wants is not to ensure that his work be maintained to his specifications behind a

permanent cover, but rather that the Mural remain on display. As the issues he

seeks to explore now are not relevant to whether he has a viable claim under VARA

(he does not), there is no basis to pause this litigation to allow him to try to find an

expert. VLS asks that the Court resolve the merits of the claim without further

delay and allow Kerson, if he wishes, to take the issue actually at stake—whether

he can bar VLS from covering his work—up on appeal.

      Alternatively, VLS requests that the Court delay the deadline for it to file its

reply in support of summary judgment to allow time for VLS to depose Plaintiff’s

expert(s) and respond to the substance of any expert opinions in its reply.



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                               Procedural Background

       VLS filed a Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) on

February 1, 2021. (Doc. 10.) By entry order on March 11, 2021, the Court

converted the Motion to a summary judgment motion, granting VLS fifteen days to

make a supplemental filing, with Plaintiff to file a response within fifteen days and

VLS to file its reply fifteen days thereafter. (Doc. 22.) VLS filed its supplemental

memorandum by the deadline set by the Court. (Doc. 23.)

       On April 8, 2021, Plaintiff asked for—and VLS assented to—an extension of

the time for him to respond. (Doc. 24.) In that response memorandum, filed on

April 14, Plaintiff argued that he needed yet more time to (among other things) try

to locate an expert to support his assertion that installation of a cover might, over

time, possibly result in some degradation to the Mural at issue. (Doc. 26.) Before

VLS could reply, the Court issued another order granting Plaintiff sixty days from

May 1 to conduct discovery and obtain an expert, with a hearing on summary

judgment to be set after July 1. (Doc. 28.)

       Under the Court’s original entry order, VLS’s summary judgment reply would

be due on Thursday, April 29, 2021. The undersigned has contacted counsel for

Plaintiff and requested that Plaintiff consent to extend the deadline for VLS to file

its reply to thirty days after Plaintiff’s disclosure of his expert(s). Plaintiff declined.




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                                      Argument

      A.     Because Kerson Seeks to Explore Issues Immaterial to
             Summary Judgment, the Court Should Reconsider Its
             Order Delaying Resolution of VLS’s Dispositive Motion.

      Rule 56 allows a party opposing summary judgment to request deferral of

ruling so as to allow targeted discovery to occur, see Fed. R. Civ. P. 56(d), but such a

request must rest on a claimed absence of evidence on an issue material to

summary judgment. Specifically, the non-movant must demonstrate by affidavit or

declaration “what facts are sought and how they are to be obtained” and “how those

facts are reasonably expected to create a genuine issue of material fact.” Hudson

River Sloop Clearwater, Inc. v. Dep’t of Navy, 891 F.2d 414, 422 (2d Cir. 1989)

(affirming denial of motion where discovery “sought would not reveal anything new

requiring denial of summary judgment”); see also Tennenbaum Capital Partners

L.L.C. v. Kennedy, 372 F. App’x 180, 181–82 (2d Cir. 2010) (affirming summary

judgment and noting that “a Rule 56[(d)] application is appropriately denied when

the party seeking further discovery has failed to show how the facts sought were

reasonably expected to create a genuine issue of material fact relating to any issue

raised in the litigation” (quotation marks and citation omitted)). Here, Kerson has

failed to meet his burden to establish how the facts he seeks can reasonably be

expected to create a genuine issue of material fact as to the issues properly before

the Court. VLS therefore requests that the Court reconsider its Order permitting

Kerson to delay progress of this case to seek discovery on issues that are not

material and will not alter the outcome.



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      Kerson’s submission and the attached declaration from Daniel Hecht raise

two sets of issues. First, they suggest that the acoustic panels VLS has acquired to

cover the Mural are “too short to fit on the frame” that will be constructed to hold

them (Doc. 26-1 at 1-2), which seems to imply that the cover might, in fact, have to

be affixed to the Mural itself, causing harm during the installation process. This is

demonstrably false. It is true that both the panels and the Mural are eight feet tall.

However, the construction drawings previously submitted by VLS leave no mystery

as to how these eight-foot panels will be suspended over the mural: an outer 1” x 4”

frame will be constructed that will “not contact [the] mural,” over which will be

constructed a wider 1” x 6” frame that will overlap and extend above the mural,

leaving, because of the overlap, a gap of less than eight feet to bridge. See Exh. C to

Feb. 12, 2021 Declaration of Jeffrey Knudsen (Doc. 13-2) at 1, 3; see also Feb. 12,

2021 Declaration of Jeffrey Knudsen (Doc. 13-1), ¶ 7 (noting that, if any alterations

were needed to adapt to conditions, they would be made in such a way as to “avoid

contact with the mural”). Kerson’s attempt to delay summary judgment by

implying questions as to facts that are directly disproven by evidence already before

the Court is unavailing and should be denied.

      Second, Kerson questions whether maintaining the cover in place over time

may eventually cause deterioration or damage to the Mural, speculating as to the

risk of potential condensation due to humid conditions or off-gassing of adhesives

behind the cover. Even if these questions are genuinely posed, and not simply

intended to delay and increase the cost of defending this action, they are not



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material to summary judgment and cannot justify delaying resolution of the merits.

VARA grants a visual artist defined, limited rights: an artist of a work of recognized

stature may prevent the work’s destruction, and artists of any visual work may

prevent the “intentional distortion, mutilation, or other modification of that work

which would be prejudicial to his or her honor or reputation.” 17 U.S.C. § 106A(a)(3)

(emphasis added). The potential for deterioration over time implicates neither.

Covering the work is not an act of “destruction,” and any changes that might occur

over time due to environmental conditions would not reflect on Kerson’s “honor or

reputation” in a prejudicial manner—nor could they, as nobody will see the work

once the cover has been installed.

      Moreover, even if Kerson could articulate a viable argument that the

potential for unseen deterioration of the Mural behind the cover would reflect in a

prejudicial manner on his honor—which is, again, an entirely illogical proposition—

the structure of VARA unambiguously reflects that this type of change was not the

“modification” with which Congress was concerned. The Act includes two express

exclusions relevant here. First, VARA states that the “modification of a work of

visual art which is a result of the passage of time or the inherent nature of the

materials is not a distortion, mutilation, or other modification.” 17 U.S.C.

§ 106A(c)(1). Second, it provides that “[t]he modification of a work of visual art

which is the result . . . of the public presentation, including lighting and placement,

of the work is not a destruction, distortion, mutilation, or other modification . . .

unless the modification is caused by gross negligence.” Id. § 106A(c)(2). In other



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words, except for cases of gross negligence—of which there is no plausible claim

here, given VLS’s diligent efforts to balance Kerson’s concerns with its own rights to

discontinue display of the Mural—VARA does not impose liability on owners of

artwork who, through otherwise permissible actions, create conditions that lead to

modification or degradation of artwork.

      In short, the issues Kerson seeks to raise are far afield from concerns that

animated enactment of VARA, and do not implicate any rights Kerson might claim

under the law. Rather than indulge in further delay and expense to conduct expert

discovery on irrelevant issues, VLS respectfully requests that the Court reconsider

its April 22, 2021 Order and proceed to a ruling on summary judgment based upon

the undisputed, material facts already before it.

      B.     Alternatively, the Court Should Extend the Deadline for
             VLS to File Its Reply in Support of Summary Judgment
             to Allow Time to Depose and Respond to Any Experts
             Disclosed by Kerson.

      If the Court does not reconsider its decision and allows discovery to proceed

on the question of the potential that covering the Mural may eventually lead to

some degradation, VLS moves the Court pursuant to Fed. R. Civ. P. 6(b) for an

order extending the deadline for it to file its reply in support of summary judgment

until August 1, 2021, with the Court to schedule a hearing on the motion thereafter.

VLS is entitled to the opportunity to respond to any expert evidence Kerson may

submit, after having had the opportunity to depose Kerson’s expert(s).

      To be clear, VLS does not intend to retain its own expert at this juncture.

Thus, if the Court proceeds consistent with its April 22 Order and allows Kerson to


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disclose an expert, the Court need not further extend the discovery schedule to

permit reciprocal disclosures and depositions to take place. VLS believes the issues

Kerson seeks to raise via expert opinion to be completely irrelevant to the merits. If

the Court ultimately denies summary judgment, VLS presumes a discovery

schedule will be entered and it will have an opportunity to disclose its own experts

on issues germane to VARA, including whether the Mural qualifies as a work of

“recognized stature” subject to protection against destruction.

                                      Conclusion

      At a time when the news headlines are dominated by stories of racial

injustice, public health crisis, and economic hardship, it is difficult to justify the

prospect of months more litigation (and expense) over the attenuated risk that the

Mural—which is to be placed behind a permanent cover and never displayed

again—might be subject to some deterioration during the artist’s lifetime. The art

preservation questions Kerson seeks to explore are of academic interest only: they

are ancillary to the central issue in this litigation and do not implicate any rights

under VARA. For that reason, VLS requests that the Court reconsider its April 22,

2021 Order and rule on summary judgment based on the record before it.




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Dated at Burlington, Vermont this 29th day of April, 2021.

                                By /s/ Justin B. Barnard
                                   Karen McAndrew, Esq.
                                   Justin B. Barnard, Esq.
                                   DINSE
                                   209 Battery Street
                                   Burlington, VT 05401
                                   802-864-5751
                                   kmcandrew@dinse.com
                                   jbarnard@dinse.com

                                      Counsel for Vermont Law School, Inc.




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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 29, 2021, I electronically filed with the Clerk of

Court the foregoing document using the CM/ECF system. The CM/ECF system will

provide service of such filing via Notice of Electronic Filing (NEF) to the following

NEF parties:

                                 Richard Rubin, Esq.
                                rrubin@rkmvlaw.com

                              Steven J. Hyman, Esq.
                           shyman@mclaughlinstern.com


Dated: April 29, 2021                          /s/ Justin B. Barnard
                                               Justin B. Barnard, Esq.




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